      Case 1:23-cr-00239-CKK            Document 294-2          Filed 03/21/25      Page 1 of 2




                                            March 19, 2025

 Attorney Shailee Diwanji Sharma
 Shailee Sharma
 Jenner & Block LLP 1155 6th Avenue
 New York , NY 10036
 ssharma@jenner.com


 IN RE:         CERTIFICATE OF ADMISSION AND GOOD STANDING


          Enclosed please find the Certificate of Admission and Good Standing for Commonwealth of
 Massachusetts Attorney Shailee Diwanji Sharma . The certificate provides certification of the
 attorney’s date of admission and current good standing at the Bar of the Commonwealth of
 Massachusetts.

          If you have any questions or should need further assistance, please do not hesitate to contact
 the Attorney Services Department at either sjccertsgs@sjc.state.ma.us or 617-557-1050.



                                                   Very truly yours,


                                                   Allison S. Cartwright, Clerk
                                                   Supreme Judicial Court for the County of Suffolk




ASC/nmp
Clearance: 03.19.2025 and File 03.18.2025
Enclosures




                                                                                   2025.01_Amended:Version2025.01.01
     Case 1:23-cr-00239-CKK                                Document 294-2                        Filed 03/21/25                   Page 2 of 2

                     COMMONWEALTH OF MASSACHUSETTS
SUFFOLK, SS.




            BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
within and for said County of Suffolk, on                                                 November 26, 2013,

said Court being the highest Court of Record in said Commonwealth:



                                             Shailee Diwanji Sharma


being found duly qualified in that behalf, and having taken and subscribed

the oaths required by law, was admitted to practice as an Attorney, and, by virtue

thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

that said Attorney is at present a member of the Bar, and is in good standing
according to the records of this Court*.

            In testimony whereof, I have hereunto set my hand and affixed the

                         seal of said Court, this nineteenth                                                    day of             March
                                           in the year of our Lord two thousand and twenty-five.




                                                                                          ALLISON S. CARTWRIGHT, CLERK



* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

         Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for Suffolk County
